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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 ZACHARIAH MILLS,                             :
                                              :
         Plaintiff,                           :
                                              :
 v.                                           :   Case No. 1:22-cv-1001-CKK
                                              :
 AMERICAN UNIVERSITY, et al.                  :
                                              :
         Defendants.                          :

                               NOTICE OF APPEARANCE

       THE CLERK OF THE COURT will please note the appearance of Paul J. Maloney and

Brain M. O’Shea of the law firm of Carr Maloney P.C. as counsel for Defendants, American

University, Daniel Esser, Sharon Weiner, Boaz Atzili, Christine Chin, Carolyn Gallaher, Jaris

Williams, Mary Clark, Traci Callandrillo, Fanta Aw, Carol Crawford, and Jeffrey Brown.


                                           Respectfully submitted,

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                                           Clark, Traci Callandrillo, Fanta Aw, Carol
                                           Crawford, Jeffrey Brown
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing Notice of Appearance was
electronically filed and served this 7th day of September 2022 upon, and mailed via first-class mail
to:

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